

Per Curiam.

The plaintiff below concluded, by demanding the sum of 10 pounds only. Iii general, when the action sounds in damages, the sunns alleged' in the different counts of the declaration, are not material, and may be arbitrary, Notwithstanding the limitation in a justice’s court, there can be no error, if the damages, in the aggregate, do not exceed the sum of 80 pounds, to which the jurisdiction of thát court extends, provided the balance claimed be 10 pounds, or under. We are, therefore, of opinion, that the exception is not well taken.(a)
Judgment affirmed.

 Cahill v. Dolph, infra, 333. Stillson v. Sandford, 3 Caines’ R. 174.

